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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


LARRY SMITH,

                   Plaintiff,

                                                      Case Number 21-12070
     vs.                                              Honorable David M. Lawson

COUNTY OF WAYNE, ROBERT J.
DONALDSON, MONICA CHILDS, GENE
KARVONEN, ROGER MUELLER, WALTER
LOVE, and JOHN DEMBINSKI,

                   Defendants.

                                              /


               CASE MANAGEMENT AND SCHEDULING ORDER


           YOU WILL RECEIVE NO FURTHER NOTICE OF THESE DATES

     Initial Disclosures Exchanged By:       March 4, 2022
     Expert Disclosure, plaintiff:           October 10, 2022
     Expert Disclosure, defendant:           November 3, 2022
     Pretrial Disclosures (Rule26(a)(3)):    June 30, 2023
     Discovery Cutoff:                       December 30, 2022
     Interim Status Conference:              August 29, 2022 at 3:00 p.m.
     Motions Challenging Experts Filed By:   January 20, 2023
     Dispositive Motions Filed By:           January 20, 2023
     Motions in limine Filed By:             July 26, 2023
     Final Pretrial Order Due:               August 23, 2023
     Final Pretrial Conference:              August 30, 2023 at 3:00 p.m.
     Trial Date:                             September 12, 2023 at 8:30 a.m.

                                         Jury Trial
               Detailed information contained in body of order. Read Carefully:
            SOME DEADLINES MAY BE SHORTER than Local Rules would allow.
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           The Court held a case management and scheduling conference with counsel for the parties

under Federal Rule of Civil Procedure 16(a). In accordance with Rule 16(b), it is ORDERED as

follows:

I.         Computation of time under this order and under any notice of any scheduling order or
           notice in this case shall be governed by Federal Rules of Civil Procedure 6(a).

II.        DISCOVERY.

           A. The Court enforces discovery plans agreed to by all parties, except as modified by
              this Order or other Order of the Court. Disclosure required by Fed. R. Civ. P.
              26(a)(1)(A), (B) and (C) must be served on opposing counsel, but not filed with the
              Clerk of the Court, on or before March 4, 2022.

           B. Disclosure of information regarding expert witnesses required by Fed. R. Civ. P.
              26(a)(2) must be made as follows: if not already disclosed under Paragraph II (A)
              above, disclosure of an expert witness’s identity under Rule 26(a)(2)(A) shall be made
              within three (3) business days of the expert’s retention; other disclosure under Rule
              26(a)(2)(B) and (C) shall be served on opposing counsel, but not filed with the Clerk
              of the Court, by the party with the burden of proof on the issue on or before October
              10, 2022 and by the opposite party on or before November 3, 2022.

           C. The Court reminds the parties that Federal Rule of Civil Procedure 5(d) and
              E.D. Mich. LR 26.2 prohibit the filing with the Clerk depositions,
              interrogatories, requests for the production of documents, requests for
              admission, responses to such discovery material, and certificates of service except
              as provided in Local Rule 26.2. Disclosures under Rule 26(a)(1) and (2), the
              corresponding discovery requests and responses must not be filed with the Clerk
              until they are used in the proceedings or the Court orders them to be filed under
              Local Rule 26.2. See Fed. R. Civ. P. 5(d). Parties and counsel who submit filings
              in violation of these provisions may be assessed costs by the Court.

           D. A list in the form required by Federal Rule of Civil Procedure 26(a)(3) of the
              witnesses (both lay and expert) whom a party may call to testify and exhibits must be
              filed with the Clerk of the Court and served on opposing counsel on or before June
              30, 2023.

           E. Discovery must be completed on or before December 30, 2022. The Court will not
              order discovery to take place after the discovery cutoff date. Discovery can be
              conducted both before and after the discovery cutoff date by mutual agreement only
              if the extension of time does not affect the motion filing, final pretrial conference, or
              trial dates. Extensions or adjournments of all other dates will only be considered upon
              the filing of a timely written motion for good cause shown.

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       F. Proposed protective orders must comply with the guidelines contained on the Court’s
          web                                                                          page.
          https://www.mied.uscourts.gov/index.cfm?pageFunction=chambers&judgeid=20.

III.   JOINDER OF PARTIES AND AMENDMENTS. The parties must move to join
       additional parties under Fed. R. Civ. P. 14, 19, or 20 no later than 90 days before the close
       of discovery stated in section II(E) of this order. Unless otherwise stated herein, the
       parties must move to amend pleadings no later than 30 days before the close of discovery
       stated in section II(E) of this order.

IV.    MOTIONS CHALLENGING EXPERT WITNESSES. The deadline for filing motions
       challenging the admissibility of expert witness testimony under Federal Rules of
       Evidence 702, 703 or 705 shall be January 20, 2023. If such motion requires a
       testimonial hearing, it should be filed within sufficient time to permit scheduling a
       hearing so as not to interfere with the trial date. All such motions should include specific
       references to the witness’s deposition and to all other record material needed to establish
       the foundation for the motion.

V.     DISPOSITIVE MOTIONS. Dispositive motions must be filed on or before January 20,
       2023. No party may file more than one motion for summary judgment without obtaining
       leave of Court. Challenges to several counts of a complaint must be brought in a single
       motion. When filing motions for summary judgment, parties shall comply with the
       following guidelines:

       A. Before filing a motion for summary judgment or responding to such a motion, the
          parties are urged to familiarize themselves with Celotex Corp. v. Catrett, 477 U.S.
          317 (1986), Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986), and Matsushita
          Electric Industrial Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574 (1986). An excellent
          summary of these cases appears in Street v. J.C. Bradford & Co., 886 F.2d 1472 (6th
          Cir. 1989). See also Schwarzer, Summary Judgment under the Federal Rules:
          Defining Genuine Issues of Material Fact, 99 F.R.D. 465 (1984). Counsel are
          discouraged from employing elaborate boilerplate recitations of the summary
          judgment standard or lengthy citations in support of well-established legal principles.

       B. Briefs in support of motions for summary judgment must contain a recitation of the
          undisputed facts with specific references to the record, using PAGE ID references
          when available. If facts are disputed, the moving party must explain how the fact is
          not material to the dispute.

VI.    GENERAL MOTION PRACTICE.

       A. Discovery motions may be referred to the magistrate judge. Once a motion has been
          referred, all communication regarding that motion should be directed to the magistrate
          judge’s chambers.



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       B. The Court strictly enforces the requirements of Eastern District of Michigan Local
          Rules 5.1 and 7.1 and the Electronic Filing Policies and Procedures for all motions.
          Failure to follow these rules likely will result in a denial of the motion and may lead
          to sanctions.

       C. All parties must strictly comply with LR 7.1(a), which requires moving parties to seek
          concurrence before filing a motion. The Court requires that a good-faith effort be
          made to obtain concurrence, which normally involves actual voice contact with
          opposing counsel. Email communication generally will be deemed insufficient. If no
          actual conversation occurs, the moving party must show that reasonable efforts were
          undertaken to conduct a conference. All of this must be documented specifically in
          the motion papers.

       D. Motions must be clear and succinct without extensive factual development. All briefs
          must comply with Eastern District of Michigan Local Rules 5.1 and 7.1, and must
          contain citation of appropriate authorities within the text of the brief (not in
          footnotes), and citations must conform to the latest edition of The Bluebook: A
          Uniform System of Citation published by the Harvard Law Review. In addition,
          briefs must contain a concise statement of facts supported by references to the record
          using PAGE ID references when available. Text in footnotes must be of the same
          font and size as the text of the body of the document and conform to all of the same
          criteria specified under LR 5.1(a)(3).

       E. Answers to motions and supporting briefs must be filed according to the schedule set
          forth in LR 7.1(d). Note that Rule R5(e) of the Electronic Filing Policies and
          Procedures prohibits combining an answer to a motion with a counter-motion in the
          same filing. The Court does not issue a briefing schedule. The Court enforces the
          response and reply due dates as set forth in LR 7.1(d) and Fed. R. Civ. P.6, even when
          the motion hearing is set far in advance. Attorneys who do not respond to motions in
          a timely fashion are not permitted to argue before the Court during oral argument, if
          oral argument is scheduled.

       F. Counsel are discouraged from employing elaborate boilerplate recitations of the
          applicable motion standards and lengthy string citations in support of well-
          established legal principles. Instead, counsel should focus their analysis on a few well-
          chosen cases, preferably recent, published, and from controlling courts.

      G. Facts stated in the statement of facts must be supported with citations of either the
         pleadings, interrogatories, admissions, depositions, affidavits, or documentary
         exhibits, using PAGE ID references when available.

      H. Motions with references to the record should be accompanied by an appendix. The
         appendix must contain an index. As to cited depositions testimony, counsel are also
         encouraged to supply the Court with a transcript of cited page(s) together with
         sufficient accompanying pages to provide context. All citations must have page
         references. Other documents referred to in the briefs should be included in the
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            appendix. When referring to unpublished sources, the full text of any unpublished
            source cited should not be filed with Court as an appendix. When citing unpublished
            authority, the Court prefers WestLaw references.

       I.   Courtesy copies of motions and briefs must be furnished to chambers as noted in Rule
            R5(b) of the Electronic Filing Policies and Procedures.

       J.   If a hearing is scheduled, the Court’s Case Manager will send out a notice of the
             hearing date.

       K. The Court endeavors to decide pending motions promptly, ordinarily within six weeks
          after a hearing, or within three weeks after the time for a response has passed without
          a response being filed. Complex motions or those raising novel issues may require
          additional time to conclude. If a motion has been pending in chambers without
          resolution for an apparently inordinate time, counsel are asked to notify the Court’s
          case manager by telephone or in writing (jointly if possible) as to the status of the
          motion. Such notification is a service that is appreciated by the Court and is not
          viewed by the Court as inappropriate or impertinent.

VII.   E-FILING.

       A. All attorneys must obtain a PACER account and become a registered user to allow
          participation in the Case Management/Electronic Case Filing (CM/ECF) system. All
          attorneys should become familiar with the CM/ECF Policies and Procedures, which
          can be found on the Court’s website as an Appendix to the Local Rules.

       B. Registered users will be notified immediately by the CM/ECF system of the Court’s
          filing of orders, opinions, and notices. Unrepresented parties who are not registered
          users may retrieve paper copies of orders and opinions from the office of the Clerk of
          the Court, 231 W. Lafayette Blvd., 5th Floor, Detroit, Michigan.

       C. Courtesy copies submitted under Rule R5(b) of the Electronic Filing Policies and
          Procedures may be delivered personally or sent by ordinary mail posted within one
          (1) business day of the e-filing date. Paper copies should be directed to chambers and
          NOT filed in the Clerk’s office.

       D. WARNING!       UNDER     THE     E-GOVERNMENT ACT OF 2002, CERTAIN
            INFORMATION MUST NOT BE INCLUDED IN COURT DOCUMENTS. BEFORE
            FILING ANY COURT DOCUMENTS, EITHER ELECTRONICALLY OR IN THE
            TRADITIONAL MANNER, CONSULT THE E-GOVERNMENT NOTICE THAT CAN
            BE FOUND AT http://www.mied.uscourts.gov/Rules/Plans/07-AO-030.pdf.

       E. Proposed orders and stipulated orders must not be e-filed. Rather, they should be
          submitted to chambers through the document utilities feature of the CM/ECF. See
          Rule R11 of the Electronic Filing Policies Procedures. Submissions must be in


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           current Word format. Electronic signatures must conform to Rule R9 of the
           Electronic Filing Policies and Procedures.

        F. No documents may be filed or submitted under seal without prior approval of the
           Court, except as permitted by Local Rule 5.3(a). Parties seeking to file sealed items
           must comply with Local Rule 5.3(b).

VIII.   MOTIONS IN LIMINE must be filed by July 26, 2023. It is the intention of the Court
        that all responses to motions in limine shall have been filed in advance of the final pretrial
        conference date; therefore counsel must strictly adhere to the deadlines set forth in LR
        7.1(d)(2). Counsel should be prepared to address motions in limine at the final pretrial
        conference.

IX.     FINAL PRETRIAL CONFERENCE AND FINAL PRETRIAL ORDER. The final
        pretrial conference shall take place on August 30, 2023 at 3:00 p.m. The Proposed Joint
        Final Pretrial Order must be submitted to chambers (and not e-filed) before the close of
        business on August 23, 2023. Following is the procedure counsel are to use to prepare
        for the final pretrial conference and the Proposed Joint Final Pretrial Order:

        A. Counsel for all parties are directed to confer in person (face to face) at their earliest
           convenience in order to (1) reach stipulations narrowing the issues of law and fact, (2)
           deal with non-stipulated issues in the manner stated in this paragraph, and (3)
           exchange documents that will be offered in evidence at the trial.

           It shall be the duty of counsel for plaintiff to initiate that meeting and the duty of other
           counsel to respond to plaintiff’s counsel and to offer their full cooperation and
           assistance. If, after reasonable effort, any party cannot obtain the cooperation of other
           counsel, it shall be his or her duty to communicate with the Court. Counsels’ meeting
           must be held sufficiently in advance of the date of the scheduled final pretrial
           conference with the Court so that counsel for each party can furnish all other counsel
           with a statement of the real issues on which the party will offer evidence. The parties
           should eliminate any issues that might appear in the pleadings about which there is no
           real controversy. Counsel for plaintiff then will prepare a draft joint final pretrial
           order and submit it to opposing counsel, after which all counsel will jointly submit
           the original and one copy of the final draft of the proposed joint final pretrial order
           to the Judge’s chambers (or in open court, if so directed) on the date fixed for
           submission. If there are any pending motions requiring determination in advance of
           trial, they should be called to the Court’s attention no later than the date of submission
           of the Proposed Final Pretrial Order.

           Counsel for plaintiff has primary responsibility for preparation of the Proposed Final
           Pretrial Order and, in that respect, for its submission to opposing counsel in ample
           time for revision and timely filing. Nonetheless, full cooperation and assistance of all
           other counsel are required for proper preparation of the final pretrial order and must
           therefore be extended.

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          The proposed joint final pretrial order should have a space for the Court’s signature.
          When signed, the proposed Order will become an Order of the Court. AN ORIGINAL
          AND ONE COPY IS TO BE EMAILED OR HAND-DELIVERED TO CHAMBERS,
          NOT THE CLERK’S OFFICE AND NOT E-FILED.

          THE PROPOSED JOINT FINAL PRETRIAL ORDER SHALL STRICTLY
          COMPLY WITH THE PROVISIONS AND REQUIREMENTS OF LOCAL RULE
          16.2 INCLUDING SUBPARTS (d) AND (f), EXCEPT AS THIS COURT HAS
          OTHERWISE ORDER HEREIN.

          Under LR 16.2(b)(9), objections to listed exhibits must be stated in the joint final
          pretrial order.

          Local Rule 16.2 further states that the Court, “in an appropriate case, may add
          additional requirements to the joint final pretrial order, or may suspend application of
          this Rule, in whole or in part.” LR 16.2(e). This Court requires that the parties to any
          civil case proceeding to a jury trial include in their draft final pretrial order (1) an
          indication, for each listed witness, of (a) whether the witness is lay or expert, (b)
          whether he or she will testify in person or by deposition, and (c) the estimated length
          of time for the witness’s anticipated testimony on direct examination.

       B. The following person and entities must personally attend the final pretrial conference:

          1)     Trial counsel for each party;
          2)     All parties who are natural persons;
          3)     A representative on behalf of any other party;
          4)     A representative of any insurance carrier that has undertaken the
                 prosecution or defense of the case and has contractually reserved to itself the
                 ability to settle the action.

          Representatives must possess full authority to engage in settlement discussions and to
          agree upon a full and final settlement. “Full authority” is authority that exceeds the
          level of the last demand by the plaintiff.

          “Personal attendance” by each party is not satisfied by (1) trial counsel professing to
          have full authority on behalf of the client or (2) a party being available by telephone.

          Any party who disregards these requirements may be sanctioned under Federal Rule
          of Civil Procedure 16(f). Possible sanctions include fines, cost, fees, foreclosure of
          witnesses, or loss of claims or defenses.

          Requests for adjournment of the final pretrial conference should be made in
          accordance with section XIV of this Order.

X.     Trial shall commence on September 12, 2023 at 8:30 a.m.

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XI.    At least ONE WEEK before the trial date, all counsel must furnish to the Court the
       following in proper form:

       A. In jury cases, any requests for VOIR DIRE and proposed JOINT JURY
          INSTRUCTIONS. In jury cases, the parties are hereby ORDERED to meet and confer
          prior to trial to discuss jury instructions. No later than one week before the first day
          of trial, the parties are to submit to Chambers a single set of proposed, stipulated jury
          instructions. The Court will provide proposed opening and closing instructions:
          counsel are responsible for all instructions related to their specific claims or defenses.
          All such instructions are to be submitted in typewritten form (double spaced) and on
          computer medium compatible with MS Word; each instruction shall contain
          references to authority (e.g., “Devitt and Blackmar, Section 11.08”); and each
          instruction shall be contained on a separate page. In addition, each party shall
          separately submit any additional proposed instructions (in the same form) to which
          any other party objects. The parties must make a concerted, good faith effort to
          narrow the areas of dispute and to discuss each instruction with a view to reaching
          agreement as to an acceptable form.

       B. A statement of claims or defenses, no longer than one paragraph, suitable to be read
          to the jury during opening instructions.

       C. In jury cases, trial briefs are optional, but if furnished they must be submitted at least
          one week before trial.

       D. In non-jury cases, proposed finding of fact and conclusions of law and (mandatory)
          trial briefs.

       E. In all cases, a list of witnesses to be called at trial and an exhibit list using the
          attached exhibit form. The list should designate the witnesses that will be called
          and those that may be called; indicate the estimated time for direct examination; state
          whether the witness will testify in person or by deposition; and identify the witness to
          be offered as expert witnesses.

       Note: This order supersedes the deadlines set forth in Local Rule 16.2.

XII.   Exhibits During Trial.

       A. Counsel must mark all proposed exhibits in advance of trial; the preferred method is
          to use the traditional “Plaintiff’s Exhibit __” (yellow) and “Defendant’s Exhibit __”
          (blue) stickers, but any clearly marked method is acceptable. A consecutive
          numbering system should be used by each party. Numbers used by one party shall
          not be used by other parties.

       B. COUNSEL MUST KEEP TRACK AND MAINTAIN CUSTODY OF ALL
          ADMITTED EXHIBITS DURING TRIAL.

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        C. The courtroom is equipped with electronic equipment to display trial exhibits by
           digital means. Parties are encouraged to publish exhibits electronically. Counsel
           must make a joint appointment through the Case Manager to familiarize themselves
           with the use of that equipment well before trial.

        D. If a party does not intend to display evidence by electronic means, exhibits must be
           tabbed and put in binders. If the exhibits are voluminous, exhibits used for each
           witness should be bound separately. In either case, binders should be provided to the
           Court and each juror.

        E. After both sides rest their case, counsel must confer and purge from one set of binders
           all exhibits not admitted during the course of trial. Admitted exhibits should be ready
           to be turned over to the jury foreperson before closing jury instructions so that jury
           deliberations are not delayed.

        F. It is the responsibility of the parties to see that the record is complete; at the conclusion
           of trial, all trial exhibits, briefs, proposed jury instructions, etc. are to be filed in
           accordance with Rule R18 of the Electronic Filing Policies and Procedures.

        G. The Court requires full disclosure to opposing counsel well before trial of computer
           generated visual or animated evidence and full disclosure of underlying data.

XIII.   Requests for extension of a scheduling order date are not routinely granted. All
        requests must be made in writing to the Court setting forth good cause, see Fed. R. Civ.
        P. 16(b)(4), in a (1) stipulation by the parties with a proposed order or (2) motion to extend
        the date which states that concurrence was sought and refused. The Court will consider
        persuasiveness of the reasons for the extension and the overall reasonableness of the
        request, including its effect on the other dates in the scheduling order.

XIV.    INTERIM STATUS CONFERENCE: Lead counsel for the parties must appear for a
        status conference on August 29, 2022 at 3:00 p.m. to discuss Alternative Dispute
        Resolution and all other case management issues that may arise.

XV.     The Court will not allow counsel not admitted in the Eastern District to practice upon a
        special motion. All inquiries regarding admission to the Eastern District must be directed
        to the Clerk’s Office at (313) 234-5005.

XVI.    Counsel may contact the Court’s Case Manager with questions regarding the Court’s
        practices, this order, or other matters of practice and procedure. However, before calling
        chambers, please consult the Court’s web page at:
        https://www.mied.uscourts.gov/index.cfm?pageFunction=chambers&judgeid=20.

                                                          s/David M. Lawson
                                                          DAVID M. LAWSON
                                                          United States District Judge
Dated: March 1, 2022
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                            PLAINTIFF’S EXHIBITS
                           DEFENDANT’S EXHIBITS



  EXHIBIT             DESCRIPTION              DATE     OBJECTED RECEIVED
    NO.                                       OFFERED      TO




                                      10
